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Theodore Levin U.S. Courthowse

231 W. Lafayette Blvd., Room 853
Detroit, MI 48226 '

Dear Judge Goldsmith:

Please consider this letter a request to have Mr. Johnson removed as my federal defender replacement following Mr. Friedman’s death.
Mr. Johnson, after filing his appearance on my behalf on April 28, 2023, allowed over 21 days to pass before arriving for a visit to the jail
with no forewarning, phone call introduction or correspondence.

Mr. Johnson told me that he will never talk to me on the phone as there is no attorney client confidentiality. He indicated the same to
Mr. Friedman’s paralegal when she spoke with him on the phone, the same day he drove to the jail with his assistant.

Additionally, my son has researched Mr. Johnson and is amazed that someone with a violent felony and a recent federal conviction for
theft from the federal government, is allowed to practice law. | doubt that the government would have any respect for Mr. Johnson and
| agree -even my children know about how important their integrity is - personally and professionally.

| know [can’t get an attorney like Mr. Friedman, but I’d at least like an attorney with no criminal history that has his or her integrity
intact, someone who will act honestly and timely with no excuses and an attorney that will talk to me on the phone without illogical
reasoning with respect to attorney client confidentiality.

Thank you for your time.

Sincerely, | L E

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